Case 2:22-cv-00540 Document 19 Filed 08/21/23 Page 1 of 3 PagelD #: 278

FILED

AUG 2 | 2023
UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA ORY PERT CLERK
CHARLESTON DIVISION Sout eid ff fg
MARILYN ENGLISH
PETITIONER, CIVIL ACTION NO. 2:22 cv 00540
V.
ELLEN HEINE, ET.AL. MOTION FOR A STAY OF THE REMAND TO THE
DEFENDANTS STATE COURT, AND FOR RECONSIDERATION

OF THE OF THE ORDER REMANDING TO THE
STATE COURT AND FOR ADDITIONAL TIME TO
PROVIDE OBJECTIONS TO THE PROPOSED
FINDINGS AND RECOMMENDATIONS AND
ADDITIONAL TIME TO PRODUCE THE

BRIEF INSUPPORT OF THE MOTION FOR
RECONSIDERATION

Please take notice that request is hereby made for a grant of leave for additional time to
file Objections to the proposed findings and recommendations in the above captioned
matter. This motion is filed as Motion for Reconsideration with a request for a stay of
the remand of the case to the state court. These requests are made for the following
reasons:

1. An Order remanding the case to the state court was signed on August 7, 2023
and mailed to the defendants via regular mail. The Order referenced the
Proposed Findings and Recommendations by Judge Tinsley. The defendants
received the August 7 Order, but we did not receive the Proposed Findings and
Recommendations. Therefore there were no objections filed because we were
not aware of the fact that any PF&R had been filed.

2. When we contacted the Court, they agreed to resend the PF&R, and we received
the envelope with a stamp date of August 10, 2023.

3. The August 7 Order remanded the case to the magistrate court and sent
notification to that court. The Order also stated the defendants would have to
pay the petitioner’s legal fees. The Order also stated that the PF&R was
adopted in its entirety because there were no objections filed to the PF&R. No
objections had been filed because we did not know that the PF&R had been filed
because we never received it in the mail.

4. The defendants are prejudiced by not having an opportunity to answer the PF&R
because we have to pay legal fees and we will not have a right of appeal.

Case 2:22-cv-00540 Document 19 Filed 08/21/23 Page 2 of 3 PagelD #: 279

5.

6.

We are requesting relief of a motion for reconsideration and request additional
time to file the brief in support of the motion for reconsideration.
We respectfully request that the Court grant the relief that we seek in this motion.

CERTIFICATION: | certify that the above statements made by me are true to the

best of my knowledge and understanding. If | have made any statements that |
know to be false, | shall suffer punishment..

Date: 8/18/23 LALA (o—_ /s/Ellen Heine
Lior /s/Gregory Knorr

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